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                               UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION
 IN RE: NATIONAL PRESCRIPTION
 OPIATE LITIGATION                                       Case No. 1:17-MD-2804

 APPLIES TO ALL CASES                                    Hon. Dan. A. Polster



  NOTICE OF FILING UNREDACTED AND/OR LESS REDACTED PLAINTIFFS’
 MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTIONS FOR SUMMARY
      JUDGMENT ON PROOF OF CAUSATION and RELATED EXHIBITS

       Plaintiffs hereby provide notice of, and file into the public record, the attached unredacted

and/or less redacted pre-trial brief and exhibits. Pursuant to the Order Regarding Redacting and

Sealing of Documents (Doc. No. 2909), various confidentiality rulings, meet and confers between

Plaintiffs, Defendants and third parties, and/or the resulting withdrawal of confidentiality

designations, the attached previously redacted materials are hereby publicly filed as unredacted or

less redacted. In the interest of clarity and completeness, Plaintiffs hereby re-refile the related

brief (even if not previously redacted) and less redacted or unredacted exhibits referenced in same.

Finally, for tracking and/or cross-referencing purposes, the below chart lists the original filing

events related to the documents that are being filed, their prior ECF numbers, and the prior and

present state of redactions.

 Document Title                                    Ex.      Prior Public   Prior      Current
                                                   #        ECF No.        Redactions Redactions
 Plaintiffs’ Opposition to Defendants’ Motions              2204           Yes          None now
 for Summary Judgment on Proof of Causation
 (PSJ2)
 Cardinal Health Document - Audit Committee 121             2427-1         Yes          None now
 Meeting, November 1, 2012
 CAH_MDL2804_03262274
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 McKesson Document - McKesson's              140   2428-11        Under seal   None now
 Controlled Substance Monitoring Program,
 Regulatory Investigative Report, March 2,
 2015
 MCKMDL00402074


Dated:        December 17, 2019

                                               Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 17th day of December, 2019, I have electronically filed

the foregoing with the Clerk of Court using the CM/ECF System. Copies will be served upon

counsel of record by, and may be obtained through, the Court’s CM/ECF System.


                                                 /s/  Anthony D. Irpino
                                                 Anthony D. Irpino
